      Case 3:19-cv-00764-X Document 67 Filed 04/10/19              Page 1 of 6 PageID 1436


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                           §
                                                    §
          Plaintiff,                                §
                                                    §
v.                                                  §
                                                    §      CIVIL ACTION NO. 3:19-cv-00764-L
LESLIE A. WULF, BRUCE A. HALL,                      §
JAMES REA, JOHN E. REA, and KEITH                   §
DRIVER                                              §
                                                    §
          Defendant.                                §

                DEFENDANT KEITH DRIVER’S 12(b)(6) MOTION TO DISMISS

            Defendant, Keith Driver, (“Driver”), through its undersigned counsel and pursuant to

 Rules 12(b)(6) of the Federal Rules of Civil Procedure seeks to dismiss the all claims against

 Driver in VeroBlue Farms USA, Inc.’s (“VeroBlue” or “Plaintiff”) Complaint (the “Claims”) for

 failure to state a claim upon which relief can be granted.

                                        STATEMENT OF ISSUES

           The issues presented is whether the Court should dismiss Plaintiff’s claims pursuant to

 Rule 12(b)(6), which protects defendants from claims that are meritless on their face. Here, the

 Claims should be dismissed under Rule 12(b)(6) for at least three reasons: (a) Plaintiff released

 Driver from all causes of actions, known or unknown, as of January 13, 2017, in the parties’

 Business Relationship Restructuring Agreement; (2) Plaintiff has not adequately plead Causes I-IX

 against Driver; and (3) Causes I-IX are not actionable.

                                   EVIDENCE IN SUPPORT OF MOTION

     First Amended Complaint                        App. 0003-0030

     Declaration of Keith Driver                    App. 0031-0032




 DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                                      PAGE 1
     Case 3:19-cv-00764-X Document 67 Filed 04/10/19               Page 2 of 6 PageID 1437


 Employment Agreement                              App.0033-0048

 Restructuring Business Agreement                  App. 0049-0063

                                      STATEMENT OF FACTS

A.      Allegations in the Complaint

        The First Amended Complaint (App.0003-0030) names Driver as a Defendant to all nine

counts listed within the Complaint, including claims for fraudulent concealment, fraudulent

misrepresentation, constructive fraud, civil conspiracy and declaratory judgment. (App. 0011-

0019, ¶ 43-85). VeroBlue alleges Driver served as an officer and employee (and/or) contractor of

VeroBlue from October 1, 2014 through on or about January 13, 2017, when VeroBlue terminated

his employment and officer status. (App. 0004, ¶ 3). Other than this statement (which is not true)

VeroBlue does not allege a single specific action taken by Driver, but instead states a slew of

alleged actions taken by all Defendants, leaving Driver to guess as to which actions VeroBlue

actually asserts he took part in. (App. 0003-0011, ¶¶ 11-42).

B.      Driver’s Employment with VeroBlue.

        Prior to July 1, 2016, Driver performed services for VeroBlue as a designated

representative of Seven Hours Holding Company, Inc., an independent contractor of VeroBlue’s.

(App. 0033). On July 1, 2016, VeroBlue and Driver entered into an Employment Agreement,

terminating Driver’s role as an independent contractor and putting him into the position of Chief

Operating Officer of VeroBlue. (App. 0033-0048).

        Driver’s stint as COO of VeroBlue, however, was very brief – only six months. On

January 13, 2017, Plaintiff and Driver entered into a Business Relationship Restructuring

Agreement (the “Release Agreement”), which terminated Driver’s Employment Agreement with

Plaintiff and re-established his consulting relationship with the company. (App. 0049-0063). Thus,

Driver was only an employee of VeroBlue for six months, yet Plaintiff seems to assert that Plaintiff


DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                                         PAGE 2
     Case 3:19-cv-00764-X Document 67 Filed 04/10/19                Page 3 of 6 PageID 1438


was involved in numerous schemes allegedly performed by VeroBlue’s officers during times that

Driver was not employed with the company and owed no duty to VeroBlue.

Additionally, as a part of the Release Agreement, Plaintiff agreed to the following:




(App. 0052). Thus, Plaintiff released Driver from all causes of actions, known or unknown, as of

January 13, 2017. (App. 0052).

C.      Facts that Allegedly Occurred After Driver’s Release from VeroBlue.

        Out of all the vague actions allegedly taken by all of the Defendants, VeroBlue only alleges

very few facts that allegedly occurred after it released Driver from any and all causes of actions.

Specifically, the only facts alleged to occur after the release are that on January 13, 2017:

        1. Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or
           around July 2017. (App. 0007, ¶ 23).

        2. VeroBlue employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of
           the Wulf Lake House, and VeroBlue paid her to do so at an annual cost to
           VeroBlue of approximately $97,500, which represented Arbanas’
           compensation and benefits. Further, VeroBlue funded housing for Arbanas
           close to the lake house, and refreshments for the construction crew on this
           project. All told, VeroBlue incurred approximately $107,490.51 for
           compensation and benefits to Arbanas. (App. 0007, ¶ 24).

        3. Defendants paid for James Rea’s personal living expenses in Ames, Iowa, about
           forty miles from Webster City, Iowa in or around August 2017 from VeroBlue’s
           funds. (App. 0010, ¶ 39(c)).




DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                                             PAGE 3
   Case 3:19-cv-00764-X Document 67 Filed 04/10/19                Page 4 of 6 PageID 1439


       4. Defendants sold a home in Webster City, Iowa for less than what it purchased
          it for on May 25, 2018. (App. 0010, ¶ 39(h).

       5. Plaintiff purchased, at the direction of some or all Defendants, of a building and
          underlying property unnecessary to VeroBlue’s business and located in
          Webster City for $400,000 on July 28, 2016, which VeroBlue sold for $135,000
          on April 13, 2018. (App. 0011, ¶ 41).

       As all of the foregoing actions were taken, Driver was not an officer or director of

VeroBlue, was merely acting as a consultant to Veroblue, owed no duties to VeroBlue, and was

not involved in the actions. (App. 0031-33). In fact, Plaintiff does not allege that Driver was

involved at all in many of the listed actions occurring after January 13, 2017. Accordingly,

Plaintiff’s Claims against Driver because it fails to state any claim upon which may be granted

against Driver, fails to properly plead the claims based upon fraud, and have released Driver for

all Claims brought against him.

       WHEREFORE, for the reasons discussed above, and as stated in more detail in the

accompanying Brief in Support of Defendant Keith Driver’s 12(B)(6) Motion to Dismiss,

Defendant, Keith Driver’s 12(B)(6) Motion to Dismiss should be granted.




DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                                            PAGE 4
  Case 3:19-cv-00764-X Document 67 Filed 04/10/19        Page 5 of 6 PageID 1440


                                     Respectfully submitted,


                                     By:    /s/ Heath Cheek
                                            R. Heath Cheek
                                            State Bar No. 24053141
                                            hcheek@bellnunnally.com
                                            Katie R. Beaird
                                            Texas Bar No. 24092099
                                            kbeaird@bellnunnally.com
                                            Bell Nunnally & Martin LLP
                                            2323 Ross Avenue, Suite 1900
                                            Dallas, TX 75201
                                            Telephone: (214) 740-1400
                                            Telecopy: (214) 740-1499

                                     ATTORNEYS FOR DEFENDANT
                                     KEITH DRIVER




DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                         PAGE 5
    Case 3:19-cv-00764-X Document 67 Filed 04/10/19             Page 6 of 6 PageID 1441


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of records for all parties via ECF Service.

          DATED this 10th day of April, 2019.

                                                   /s/ R. Heath Cheek
                                                   R. Heath Cheek


4435625_1.docx / 10700.1




DEFENDANT KEITH DRIVER’S 12(B)(6) MOTION TO DISMISS                                    PAGE 6
